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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                JONESBORO DIVISION

EDDIE B. KEELING                                                                       PLAINTIFF

v.                                   NO. 3:16CV00220 JLH

PACO STEEL & ENGINEERING CORP., d/b/a
PACO STEEL OF ARKANSAS                                                               DEFENDANT

                                             ORDER

       The plaintiff has given notice that all claims have been settled to the parties’ satisfaction.

The notice of settlement requests that the Court retain jurisdiction for sixty days. Pursuant to the

notice of settlement, this action is dismissed with prejudice. The Court retains jurisdiction for a

period of sixty days to enforce the settlement agreement if necessary.

       IT IS SO ORDERED this 5th day of January, 2017.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
